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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                   )     Case No. 2:04-cr-01189-CAS
                                                 )
12                       Plaintiff,              )     ORDER DENYING DEFENDANT’S
13                 v.                            )     MOTION FOR RECONSIDERATOIN
                                                 )     OF ORDER DENYING MOTION FOR
14
     GABRIEL GONZALEZ,                           )     REDUCTION IN SENTENCE UNDER
15                                               )     18 U.S.C. § 3582 AND THE CARES
16                       Defendant               )     ACT OF 2020
                                                 )
17
18
19      I.      INTRODUCTION AND BACKGROUND
20           On August 25, 2004, a grand jury indicted defendant Gabriel Gonzalez
21   (“Gonzalez”), a former Los Angeles County Sheriff’s deputy, with acting under color of
22   law in violation of 18 U.S.C. § 242. Dkt. 1. Specifically, the indictment charged Gonzalez
23   with using his position as a law enforcement officer to coerce female victims into engaging
24   in non-consensual, sexual acts. Id.
25           Gonzalez’s trial commenced on February 14, 2006. Dkt. 78. On February 27, 2006,
26   the jury returned its verdict, convicting Gonzalez on three counts of violating 18 U.S.C. §
27   242. Dkt. 103. On August 4, 2006, the Court sentenced Gonzalez to serve 360 months in
28   prison, as well as a term of five years of supervised release. Dkt. 118.


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1          On April 15, 2020, Gonzalez, acting pro se, filed a motion seeking compassionate
2    release or, in the alternative, home confinement. Dkt. 202. On August 6, 2020, the Court
3    denied Gonzalez’s motion. Dkt. 217 (“Order”). Gonzalez subsequently filed several
4    motions objecting to the Court’s order and seeking consideration of additional evidence
5    related to Gonzalez’s medical condition.1 Before the Court here are: (a) a supplemental
6    reply motion, filed August 24, 2020; dkt. 220 (“Supp. Reply”); (b) objections to the Court’s
7    August 6, 2020 order, filed August 25, 2020; dkt. 219 (“Objections”); (c) a “reply to
8    government’s medical record inquiry,” filed September 9, 2020; dkt. 225 (“Med. Reply”);
9    (d) a motion to correct a clerical error regarding Gonzalez’s reply exhibits, filed September
10   11, 2020; dkt. 228 (“Mot. to Correct”); and (e) Gonzalez’s reply brief, attaching previously
11   unfiled exhibits, filed September 22, 2020. Dkt. 229 (“Reply”). Taken together, these
12   filings raise the same issues as those raised in Gonzalez’s April 15, 2020 motion for
13   compassionate release. Accordingly, the Court treats the instant motions together as a
14   motion for reconsideration.
15         Having considered Gonzalez’s arguments and submissions, the Court finds and
16   concludes as follows.
17         II.    LEGAL STANDARD
18         “A judgment of conviction that includes a sentence of imprisonment constitutes a
19   final judgment and may not be modified by a district court except in limited
20   circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010) (internal alterations
21   omitted).   “Compassionate release provides an exception” to this general rule “in
22   extraordinary cases.” United States v. Holden, No. 3:13-cr-00444-BR, 2020 WL 1673440,
23   at *2 (D. Or. Apr. 6, 2020).
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       The majority of Gonzalez’s additional filings were first postmarked in July or August
26   2020 but were returned to Gonzalez as undeliverable. On September 10, 2020, after
27   becoming aware that Gonzalez had experienced filing difficulties, the Court issued an order
     directing Gonzalez to resubmit any filings that were returned to him as undeliverable on or
28   before September 25, 2020. See Dkt. 223.

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1          Prior to December 21, 2018, “the Court could only reduce a sentence of
2    imprisonment upon a motion of the Director of the Bureau of Prisons[.]” United States v.
3    Esparza, No. 1:07-cr-00294-BLW, 2020 WL 1696084, at *1 n.1 (D. Idaho Apr. 7, 2020).
4    But on December 21, 2018, Congress enacted—and the President signed into law—the
5    First Step Act of 2018 (“the FSA”), “with the intent of ‘increasing the use and transparency
6    of compassionate release.’” United States v. Willis, 382 F. Supp. 3d 1185, 1187 (D.N.M.
7    2019). Accordingly, the FSA now “permits defendants to bring their own motions for
8    compassionate release after first exhausting their administrative remedies with the Bureau
9    of Prisons.” United States v. Ayon-Nunez, No. 1:16-cr-00130-DAD, 2020 WL 704785, at
10   *2 (E.D. Cal. Feb. 12, 2020). “Although relief under the statute is commonly referred to
11   as ‘compassionate release,’ such relief is not limited to immediate release, but includes a
12   reduction in sentence.” United States v. Marks, No. 03-cr-06033-L, 2020 WL 1908911, at
13   *3 n.3 (W.D.N.Y. Apr. 20, 2020).
14         “Compassionate release is governed by 18 U.S.C. § 3582(c).” Willis, 382 F. Supp.
15   3d at 1187. The FSA modified Section 3582(c)(1)(A)(i) to allow for compassionate release
16   when three requirements are met: “First, as a threshold matter, the statute requires
17   defendants to exhaust administrative remedies. Second, a district court may grant
18   compassionate release only if ‘extraordinary and compelling reasons warrant such a
19   reduction’ and ‘that such reduction is consistent with applicable policy statements issued
20   by the Sentencing Commission.’ Third, the district court must also consider ‘the factors set
21   forth in Section 3553(a) to the extent they are applicable.’” United States v. Rodriguez,
22   424 F. Supp. 3d 674, 680 (N.D. Cal. 2019) (citing 18 U.S.C. § 3582(c)(1)(A)(i)). The FSA
23   “grants broad discretion to the district courts in providing relief[.]” Jones v. United States,
24   No. 4:98-cr-10-01, 2020 WL 219311, at *3 (E.D. Va. Jan. 6, 2020).
25         A motion for reconsideration may only be granted if : “(1) the motion is necessary
26   to correct manifest errors of law or fact upon which the judgment is based; (2) the moving
27   party presents newly discovered or previously unavailable evidence; (3) the motion is
28   necessary to prevent manifest injustice; or (4) there is an intervening change in controlling

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1    law.” Turner v. Burlington Northern Santa Fe R. Co., 338 F.3d 1058, 1063 (9th Cir. 2003)
2    (internal quotation marks, citations, and alterations omitted). See also School Dist. No. 1J,
3    Multnomah Cnty, Or. v. AcandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). Reconsideration
4    is an “extraordinary remedy, to be used sparingly in the interests of finality and
5    conservation of judicial resources.” Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877,
6    890 (9th Cir. 2000) (internal quotation marks and citation omitted).
7       III.   DISCUSSION
8          Gonzalez initially filed a motion for compassionate release on April 15, 2020 and
9    supplemented that motion on May 18, 2020. At that time, Gonzalez contended that his
10   circumstances warranted compassionate release both due to alleged deficiencies in the
11   BOP’s general efforts to protect against the spread of COVID-19 at FCI Forrest City and
12   due to the increased risk of severe COVID-19 complications posed by certain of
13   Gonzalez’s medical conditions. See Dkt. 202, dkt. 205. Gonzalez subsequently asserted
14   that he had contracted COVID-19 at FCI Forrest City, dkt. 213, after which the government
15   filed a supplemental brief indicating that: (1) Gonzalez tested positive for COVID-19 from
16   a sample taken on May 13, 2020; (2) Gonzalez presented as asymptomatic and denied
17   experiencing symptoms while infected; and (3) Gonzalez subsequently tested negative for
18   COVID-19 on June 23, 2020. See Dkt. 216.
19         The Court considered Gonzalez’s arguments and medical status and determined in
20   its prior order that Gonzalez did not qualify for compassionate release, both because
21   Gonzalez’s medical condition—including his diagnosis with COVID-19 and subsequent
22   recovery—did not present “extraordinary and compelling” reasons warranting a sentence
23   reduction and because Gonzalez failed to establish that he is not a danger to the community.
24   See Order at 4-8. Gonzalez now moves for reconsideration, principally raising issues that
25   concern the period during which he was positive for COVID-19 and which are therefore
26   not “new” for purposes of a motion to reconsider: (a) that he—contrary to the medical
27   records filed by the government—experienced some symptoms associated with COVID-
28   19 while infected, and (b) that he received inadequate medical care while infected. Dkt.

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1    225-1; See generally Med. Reply; Objections. The only “new” circumstance Gonzalez
2    raises at this time is his contention that he has continued to experience “mild-moderate”
3    symptoms up until the present, after testing negative for COVID-19. Dkt. 225-1. As
4    addressed below, that contention does not establish a basis for compassionate release.
5          Gonzalez has not raised any new facts, legal arguments, or other circumstances that
6    justify revisiting, or altering, the Court’s August 6, 2020 order denying Gonzalez’s motion
7    for reduction of sentence. With respect to Gonzalez’s COVID-19 infection, which the
8    Court addressed at length in its prior order, Gonzalez has presented no new facts regarding
9    his medical condition after testing negative for COVID-19 on June 23, 2020 that would
10   qualify him for compassionate release at this time. Gonzalez now disputes a portion of his
11   medical records stating that he did not complain of COVID-19 symptoms while infected
12   and states that he experienced symptoms including “chest aches, sh[o]rtness of breath,
13   dizziness, fatigue, chills, inability to concentrate, and confusion” during the period covered
14   by medical records filed by the government—between his May 2020 positive test for
15   COVID-19 and his subsequent negative test for COVID-19 on June 23, 2020. See dkts.
16   225-1; 220-2; see also dkt. 216-1. Gonzalez also explains that he “intentionally chose not
17   to declare his symptoms” to the prison medical staff because he did not wish to be housed
18   in one of the prison’s quarantine areas. Med. Reply at 2. Because those arguments address
19   events that occurred prior to Gonzalez’s recovery, they do not provide a basis for
20   reconsideration of the Court’s prior determination that because “Gonzalez ha[d]
21   subsequently tested negative for COVID-19” no extraordinary and compelling reasons
22   existed to warrant a reduction in his sentence. Order at 6; see also United States v.
23   Stephens, No. 06-CR-20365, 2020 WL 5769125, at *6 (E.D. Mich. Sept. 28, 2020) (“where
24   a defendant has contracted COVID-19 and recovered, his health condition is not
25   extraordinary and compelling”).
26         Gonzalez’s only new contention is that he has “periodically experienced mild-
27   moderate symptoms […] from 5/20 to present,” a period that extends beyond his negative
28   test on June 23, 2020. Dkt. 225-1. Gonzalez provides no additional evidence identifying

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1    his present symptoms or otherwise suggesting that they are serious. Accordingly,
2    Gonzalez’s assertions that he is experiencing “mild-moderate” symptoms related to
3    COVID-19, after having tested negative for the virus on June 23, 2020, do not provide any
4    support for a conclusion that Gonzalez is currently severely ill. To the contrary, while
5    Gonzalez “asserts that he continues to experience[] Covid-19-related health problems,
6    those problems do not appear to be “extremely serious” and […] he seems to be in stable
7    condition.” United States v. Zubkov, No. 14-cr-00773-RA, 2020 WL 2520696, at *3
8    (S.D.N.Y. May 18, 2020) (publication forthcoming) (no extraordinary circumstances
9    justified compassionate release for inmate who contracted symptomatic COVID-19 but
10   subsequently “recovered”). As such, the Court concludes that Gonzalez’s new statements
11   regarding his medical condition do not present “extraordinary and compelling” reasons that
12   warrant a reduction in sentence at this juncture. See e.g. United States v. Pinkston, No.
13   606-026-1, 2020 WL 3492035 (S.D. Ga. June 26, 2020) (denying compassionate release
14   for 70-year-old inmate who contracted COVID-19 and subsequently “recovered” because
15   the evidence demonstrated that his “health was not sufficiently compromised by COVID-
16   19 to qualify as a serious medical condition”); accord Zubkov, 2020 WL 2520696 at *3.
17         Likewise, Gonzalez’s various contentions that he is generally dissatisfied with
18   BOP’s management of COVID-19 and with the level of care he has received while at FCI
19   Forrest City do not provide a basis for early release. See U.S.S.G. § 1B1.13(1)(A); Zubkov,
20   2020 WL 2520696 at * 4 (because inmate had “already contracted and recovered from
21   COVID-19” the prison’s overall ability to manage the spread of COVID-19 was “not
22   relevant” to the question of whether he warranted compassionate release). With respect to
23   treatment, Gonzalez’s argument that he received no medical care for his COVID-19
24   infection other than “several weeks of routine temperature checks” was previously raised
25   in his reply brief in support of his motion for compassionate release, and is therefore
26   duplicative of issues the Court has already addressed. See dkt. 213 at 7. And, to the extent
27   that Gonzalez’s filings have raised any new issues regarding his treatment, the Court finds
28   that they do not provide a valid basis for reconsideration of the Court’s prior order because

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1    Gonzalez has failed to adequately explain why he could not, through the exercise of
2    reasonable diligence, have included all arguments and evidence regarding the adequacy of
3    his treatment while infected in his reply briefing.2 See also C.D. Cal. L.R. 7-18 (“A motion
4    for reconsideration of the decision on any motion may be made only on the grounds of (a)
5    a material difference in fact or law from that presented to the Court before such decision
6    that in the exercise of reasonable diligence could not have been known to the party moving
7    for reconsideration at the time of such decision . . . ”) (emphasis added).
8           Moreover, even accepting arguendo that Gonzalez could not have timely submitted
9    his “new” evidence regarding his medical care, the emails and declarations Gonzalez has
10   now filed do not support reconsideration of the Court’s prior order because they do not
11   raise any new facts demonstrating that Gonzalez has ever reported experiencing any
12   symptoms requiring treatment to the prison medical team or been denied care for symptoms
13   he reported.    See e.g. Objections at 3-8; dkt. 220-2. And the government’s prior
14   submissions “belie any suggestion that BOP medical personnel have disregarded
15   [Gonzalez’s] recent health issues.” Zubkov, 2020 WL 2520696 at * 4. To the contrary, the
16   medical records reflect that Gonzalez both was “screened for COVID-19 symptoms” and
17   received a temperature check on an almost daily basis between his initial positive test and
18   subsequent negative test for COVID-19, but that Gonzalez never developed a fever and
19   never reported experiencing symptoms to any member of the medical staff. See generally
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22     Gonzalez has subsequently represented that he has had filings “returned to him as
     undeliverable” due to “interference with his legal mail filings.” See Dkts. 218, 219. A
23   review of the record indicates that those issues were caused not by interference in the face
24   of reasonable diligence, but by clerical errors: either (a) use of an incorrect court mailing
     address, or (b) insufficient postage. See Dkt. 227. Moreover, the existence of those
25   supplemental filings does not demonstrate that Gonzalez exercised reasonable diligence in
26   presenting all arguments and evidence known to him to the Court in advance of the August
27   6, 2020 order, because Gonzalez’s filings attaching evidence related to his treatment are
     dated after that order. See Med. Reply at 6 (dated August 11, 2020); Objections at 2 (dated
28   August 19, 2020)

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1    Dkt. 216-1; United States v. Bogdanoff, No. 12-CR-0190-1, 2020 WL 2307315, at *5 (E.D.
2    Pa. May 8, 2020) (publication forthcoming) (denying compassionate release for inmate
3    who had reported no symptoms, observing that “BOP officials are monitoring [the inmate]
4    daily, taking his temperature each day, and continue to report that he remains
5    asymptomatic”).
6          As such, Gonzalez has submitted no evidence or argument in support of his motion
7    for reconsideration that justifies revisiting the Court’s determination that Gonzalez’s
8    medical condition, including his positive test for COVID-19, did not present “extraordinary
9    and compelling circumstances” warranting compassionate release.
10         Moreover, Gonzalez has presented no new facts, legal arguments, or other
11   circumstances that would justify revisiting the Court’s prior determination that Gonzalez
12   would present a danger to the community if granted compassionate release given the nature
13   of his underlying misconduct. See Order at 7.
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           IV.    CONCLUSION
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           For the foregoing reasons, Gonzalez’s motion for reconsideration is DENIED.
16
           IT IS SO ORDERED.
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     DATED: October 22, 2020
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20                                                         CHRISTINA A. SNYDER
                                                       UNITED STATES DISTRICT JUDGE
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